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ATTORNEYS FOR PLAINTIFF
FEDERAL TRADE COMMISSION

                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO


  FEDERAL TRADE COMMISSION,                                Case No. 2:22-cv-00377-BLW

            Plaintiff,                                     MOTION TO STRIKE
                                                           AFFIRMATIVE DEFENSES AND
            v.                                             REQUEST FOR JURY TRIAL
                                                           [DKT. 73]
  KOCHAVA INC., corporation,

            Defendant.

       Plaintiff Federal Trade Commission (“FTC”) submits this motion to strike the affirmative

defenses and request for a jury trial included in Defendant Kochava Inc.’s (“Kochava”) Answer

to the Amended Complaint (“Answer”) [Dkt. 73]. In support of this motion, the FTC states:

       1)        Kochava filed its Answer on February 20, 2024.

       2)        On March 5, 2024, the Court granted the FTC’s request for an extension of time

to file a motion to strike the Answer or parts therein. The FTC’s request was based on its desire

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to avoid motion practice if possible. The Court set a new deadline for the FTC’s motion to strike

to March 26, 2024.

       3)      Despite attempts by the FTC to address deficiencies in Kochava’s Answer with

the company without motion practice, the FTC has been unable to do so. As a result, for the

reasons explained in the accompanying memorandum of law, the FTC respectfully requests the

Court strike Kochava’s affirmative defenses in the Answer, including striking Affirmative

Defenses numbered 1-4, 7-8, 12, 14-22, 24-31 with prejudice. The Court should also strike

Kochava’s request for a jury trial.

       Wherefore, the FTC respectfully requests the Court grant its motion to strike.


                                             Respectfully submitted,

Dated: March 26, 2024                        /s Brian Shull

                                             BRIAN SHULL
                                             JULIA A. HORWITZ
                                             ELIZABETH C. SCOTT

                                             Attorneys for Plaintiff
                                             FEDERAL TRADE COMMISSION




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